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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      CR06-296 JCC
                                 )
12         v.                    )                DETENTION ORDER
                                 )
13                               )
    DALE ALEXANDER PRENTICE, )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17            Conspiracy to Import Marijuana, in violation of Title 21, U.S.C., Section 952(a),
18            960(a)(b)(1)(G) and 963;
19            Conspiracy to Possess Marijuana with the Intent to Distribute, in violation of Title
20            21, U.S.C., Section 841(a)(1), 841(b)(1)(B) and 846;
21            Possession of Marijuana with the Intent to Distribute, in violation of Title 21,
22            U.S.C., Section 812.
23 Date of Detention Hearing: September 19, 2006
24            The Court, having conducted a contested detention hearing pursuant to Title 18
25 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
26 hereafter set forth, finds that no condition or combination of conditions which the defendant


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 1 can meet will reasonably assure the appearance of the defendant as required and the safety
 2 of any other person and the community. The Government was represented by Susan Roe.
 3 The defendant was represented by Richard Troberman.
 4       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 5           (1)    There is probable cause to believe the defendant committed the drug
 6                  offense. The maximum penalty is in excess of ten years. There is
 7                  therefore a rebuttable presumption against the defendant’s release based
 8                  upon both dangerousness and flight risk, under Title 18 U.S.C. §
 9                  3142(e).
10           (2)    The nature of the offense and specifically this conspiracy has involved
11                  large sums of cash, of which over $500,000.00 was found at the
12                  Redmond residence of a co-defendant. The co-conspirator has been
13                  characterized by the defendant as his partner. With access to this
14                  amount of cash, defendant poses a risk of flight.
15           (3)    The Governments case is strong as it is based in part upon the recorded
16                  eighty (80) telephone calls between the Defendant and an undercover
17                  federal agent. The purpose of the calls were to arrange the rental of a
18                  warehouse in the United States which would be used to store drugs
19                  smuggled from Canada. The agent was to pose as the lessor of said
20                  warehouse.
21           (4)    Defendant is viewed as a risk of flight inasmuch as he is a Canadian
22                  citizen. His assets and businesses in Canada and his reported income
23                  from those businesses suggest that there are sources of income that are
24                  not legitimate. Based upon the foregoing information, it appears that
25                  there is no condition or combination of conditions that would reasonably
26                  assure future Court appearances and/or the safety of other persons or the

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 1               community.
 2         It is therefore ORDERED:
 3         (l)   The defendant shall be detained pending trial and committed to the
 4               custody of the Attorney General for confinement in a correction facility
 5               separate, to the extent practicable, from persons awaiting or serving
 6               sentences or being held in custody pending appeal;
 7         (2)   The defendant shall be afforded reasonable opportunity for private
 8               consultation with counsel;
 9         (3)   On order of a court of the United States or on request of an attorney for
10               the Government, the person in charge of the corrections facility in which
11               the defendant is confined shall deliver the defendant to a United States
12               Marshal for the purpose of an appearance in connection with a court
13               proceeding; and
14         (4)   The clerk shall direct copies of this order to counsel for the United
15               States, to counsel for the defendant, to the United States Marshal, and to
16               the United States Pretrial Services Officer.
17         DATED this 20th day of September, 2006.
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                                                    MONICA J. BENTON
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                                                    United States Magistrate Judge
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